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                           EXHIBIT A
                                                                                                   eFiled
                                                                                              2/28/2025 7:04:34 PM
      Case 1:25-cv-01023-CJN          Document 1-1     Filed 04/04/25     Page 2 of 32         Superior Court
                                                                                         of the District of Columbia




            IN THE SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                      CIVIL DIVISION


 DC GAMBLING RECOVERY LLC,
 1001 N. West St. Ste. 1501
 Wilmington, DE 19801
                                                Case No,    2025-CAB-001265
                       Plaintiff,



 AMERICAN WAGERING, INC.
 dba CAESARS SPORTSBOOK
 One Caesars Palace Drive
 Las Vegas, NV 89109

 BETFAIR INTERACTIVE US LLC
 dba FANDUEL
 6701 Center Drive West, Suite 1000
 Los Angeles, CA 90045

 BETMGM, LLC
 Harborside Plaza 2
 200 Hudson Street, Suite 700
 Jersey City, NJ 07311

 CROWN DC GAMING LLC
 dba DRAFTKINGS
 222 Berkeley St., 5th Fl.
 Boston, MA 02116

 FBG ENTERPRISES OPCO, LLC
 dba FANATICS
 95 Morton Street
 New York, NY 10014

                       Defendants.


                                        COMPLAINT
       On the eve of Problem Gambling Awareness Month, Plaintiff DC Gambling Recovery

LLC brings this action against American Wagering, Inc. dba Caesars Sportsbook, Betfair
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Interactive US LLC dba FanDuel, BetMGM, LLC, Crown DC Gaming LLC dba DraftKings, and

FBG Enterprises Opco, LLC dba Fanatics (collectively, “Defendants”) for the recovery of

gambling losses under D.C. Code § 16-1702 (the “Statute of Anne”).

                                                 INTRODUCTION

      1.              On January 31, 1925, the District of Columbia’s vice squad raided a then-popular

Greek restaurant on 1217 E St., N.W. Officers arrested the owner, Louis Chipouras, and others

for operating a furtive horse-race-betting operation. 1 But visit the block where that restaurant

once stood, and today you will find the headquarters of the American Gaming Association – “the

premier national trade group for the U.S. casino industry.” 2 And less than a mile away, at

Caesars Sportsbook, D.C. residents and visitors now openly gamble on some of the same horse

racing events that Chipouras once handicapped – as well as on football, basketball, and all

manner of other sports, games, and athletic contests.

      2.              Between brick-and-mortar books (like Caesars Sportsbook) and their digital

equivalents, D.C. gamblers now wager (and lose) tens of millions of dollars each month on

sports gambling. And that number is rising quickly, reflecting an unprecedented public health

crisis of gambling-related addiction, especially among some of the D.C.-area’s youngest and

most vulnerable residents.

      3.              It didn’t use to be like this. Until roughly six years ago, sportsbooks did not

operate legally within the District. Sports wagering in the District historically was not

authorized.




          Ghosts of DC, A Gambling Bust in 1925 Washington DC: From Dice to Drafts to the American Gaming
           1

Association (Aug. 24, 2012), https://perma.cc/67K7-K67J.
           2
               American Gaming Association, https://www.americangaming.org/ (last visited Feb. 26, 2025).

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      4.        Additionally, like several States, the District has long had a law protecting

gamblers against large-stakes gambling losses: the Statute of Anne. Based on a 1710 British law

passed during the reign of Queen Anne, that law makes certain gambling debts unenforceable. It

allows a losing party to sue the winning party for the value of losses exceeding $25 (and for

fees). And, should the losing party fail to sue within three months, it authorizes anyone to bring

a claim against the winning party for treble damages (with the recovery split evenly between the

suing party and the District). The Statute of Anne has never been overturned (expressly or

impliedly). It remains good law to this day.

      5.        Sports gambling companies rushed into the District in response to the Sports

Wagering Lottery Amendment Act (“SWLAA”), a 2019 D.C. law purporting to legalize sports

gambling. The D.C. Council enacted that law a year after the Supreme Court, in New Jersey

Thoroughbred Horsemen’s Association, Inc. v. NCAA, 584 U.S. 453 (2018), held that a

longstanding federal statute called the Professional and Amateur Sports Protection Act

(“PASPA”), which had prohibited the States and U.S. territories (including the District) from

legalizing sports gambling, violated the Tenth Amendment. The District apparently thought that

the Supreme Court’s New Jersey decision meant that PASPA no longer applied to it. But that is

wrong: the Tenth Amendment does not apply to the District of Columbia, so PASPA’s

prohibition remains in full force in the District. The SWLAA is thus without any legal force or

effect.

      6.        In any event, the SWLAA did not repeal the Statute of Anne. So even if the

SWLAA were valid, it leaves in place the historical remedies that the District saw fit to prevent

gambling operators like Defendants from fleecing users in D.C. of large amounts of money. By




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preserving the Statute of Anne, the SWLAA legalized only small-stakes betting – claims that fall

below the Statute of Anne’s $25 threshold.

      7.        Defendants have operated in the District without regard to these legal limits –

taking tens of millions of dollars from D.C.-based gamblers. But under the law, each time

Defendants caused a gambler in the District to suffer gambling losses of at least $25 in a single

sitting, that person had the right to sue under the Statute of Anne within three months to recover

for his or her losses, plus costs. And after three months has elapsed, any person may sue for

three times the amount of each gambler’s unrecovered losses, receiving half as a relator’s fee,

and sharing the other half with the District. In filing this action, Plaintiff takes just that step.

                                              PARTIES

      8.        Plaintiff DC Gambling Recovery LLC is a company formed under the laws of the

Delaware to enforce the District’s gambling laws. Its mailing address is 1032 15th St. N.W.,

#163, Washington, DC 20005. Plaintiff has no relationship to any gambler who has suffered

gambling losses and has not colluded with any gamblers in bringing this action.

      9.        Defendant American Wagering, Inc. dba Caesars Sportsbook is a Nevada

corporation based in Las Vegas, Nevada. It is authorized by the District of Columbia’s Office of

Lottery and Gaming as a Class A Operator. It operates a sports wagering facility at Capital One

Arena, 601 F St., N.W., Washington, D.C. 20004. It also offers a betting website and mobile app

for use within the District.

    10.         Defendant Betfair Interactive US LLC dba FanDuel is a Delaware limited liability

company based in Los Angeles, California. It is authorized by the District of Columbia’s Office

of Lottery and Gaming as a Class A Operator. From 2022 until approximately February 20,

2025, it operated a sports wagering facility at Audi Field, 100 Potomac Ave., S.W., Washington,

D.C. 20024. It also offers a betting website and mobile app for use within the District.

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    11.        Defendant BetMGM, LLC is a Delaware limited liability company based in

Jersey City, New Jersey. It is authorized by the District of Columbia’s Office of Lottery and

Gaming as a Class A Operator. It operates a sports wagering facility at Nationals Park, 1500

South Capitol St., S.E., Washington, D.C. 20003. It also offers a betting website and mobile app

for use within the District.

    12.        Defendant Crown DC Gaming LLC dba DraftKings is a Delaware limited liability

company based in Boston, Massachusetts. It is authorized by the District of Columbia’s Office

of Lottery and Gaming as a Class C Operator. It offers a betting website and mobile app for use

within the District.

    13.        Defendant FBG Enterprises Opco, LLC dba Fanatics is a Delaware limited

liability company based in New York, New York. It is authorized by the District of Columbia’s

Office of Lottery and Gaming as a Class C Operator. It offers a betting mobile app for use

within the District.

    14.        Defendants are “winner[s]” at gaming within the meaning of the Statute of Anne,

D.C. Code § 16-1702.

                                JURISDICTION AND VENUE

    15.        This case arises under D.C. Code § 16-1702.

    16.        This Court has jurisdiction over the subject matter of this case pursuant to D.C.

Code § 11-921.

    17.        This Court has personal jurisdiction over the Defendants under D.C. Code § 13-

423. Each of the Defendants has been licensed by the District to conduct sports wagering

operations within the District and currently offers gambling services in-person and/or online to

D.C. visitors and residents. In January 2025, the D.C. Office of Lottery and Gambling reported

that American Wagering, Inc. made over $513,000 in gross gaming revenue in D.C; Betfair

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Interactive US LLC, over $6 million; BetMGM, LLC, over $470,000; Crown DC Gaming LLC

nearly $2 million; and FBG Enterprises Opco, LLC nearly $300,000. Each of the Defendants

thus transacts substantial business in the District, has purposefully directed its activities at

District residents, and purposefully availed itself of benefits of the District’s laws.

    18.         Plaintiff is a District resident and its claims against Defendants arise out of, relate

to, and have a substantial connection with business purposefully transacted by Defendants in the

District.

    19.         Venue is proper in the District of Columbia because, among other things, the

conduct underlying Plaintiff’s claims occurred in the District of Columbia.

                                               FACTS

          A. Sports gambling

    20.         Sports gambling can take many forms, but the basic concept is straightforward.

Sportsbooks assign probabilities to the occurrence of various sporting-related events. For

instance, they may set odds on the Chiefs winning next year’s Superbowl, on Aaron Judge

hitting two home runs in the third inning of a specific game, or on the Lakers and Warriors

scoring a combined 250 points on a particular night. Based on those probabilities, the book will

create bets for gamblers to wager on.

    21.         Sometimes, sportsbooks’ offerings take the form of “money lines,” which pay out

based on the riskiness of the bet. For example, if you bet $100 on a boxer as a +200 underdog,

you would collect $200 if that boxer won. Otherwise, the sportsbook would win your money and

you would lose $100. Conversely, if you bet $100 on a boxer who was a -200 favorite, you

would collect $50 if that boxer won but would lose your $100 to the sportsbook if the boxer lost.

Other bets take the form of “spreads,” whereby the sportsbook holds payouts constant by

“handicapping” the competition. For example, if you bet $100 on the Commanders as a +3.5

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point favorite, you would get $200 as long as the Commanders won by at least 4 points.

Otherwise, you would lose your money. Meanwhile, if you bet $100 on the Ravens as a -3.5

underdog, you would get $200 if the Ravens won or if they lost by less than 3 points.

Sportsbooks also offer more advanced forms of betting. For instance, they may offer “parlays,”

which allow gamblers to chain together numerous bets, creating a single (riskier) bet with a

higher potential payout if it hits.

    22.         Sportsbooks usually set their odds with help from professional statisticians and

proprietary software. And while sportsbooks cannot typically change the terms of a bet a

gambler has already placed, they can (and do) modify their offerings dynamically over time

based on national and global betting trends. If, for example, significant money came in for

White Abarrio to win the Kentucky Derby, the sportsbook would lower the payout for future

bettors. This would incentivize bettors to place their money on other horses in the race. This

gambit allows sportsbooks to derisk their operations.

    23.         Regardless of the specific type of bet offered, one fact remains constant: The

sportsbook typically retains a statistical advantage (or “edge”) for itself. That is, absent some

special inducement or promotional offer, the expected value of betting on both sides of a

particular outcome will always be less than the amount wagered. This edge guarantees

sportsbooks win over time and explains their $13.71 billion in domestic profits in 2024 alone.

Of course, that profit comes from somewhere. Over a long enough time horizon, the great

majority of sports bettors lose money; one study determined that, after a year, only about 3% end

up in the black. Everyone else ends up worse than before. And some individuals naturally

predisposed to compulsive gambling suffer worst of all. In gambling, where there are winners

there must also be losers. And individual sports gamblers are almost always losers.



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          B. The Statute of Anne

    24.         While the specific conduct animating this lawsuit is recent, the law at issue is not.

The story begins in Britain during the twilight of the House of Stuart, when Queen Anne adopted

what would become known as the Statute of Anne of 1710. That law had two main elements.

The first declared a wide range of gambling transactions void (in effect, freeing the losing party

from any obligation to pay the winner). The second created causes of action to claw back

gambling gains. Those who lost at least “the Sum or Value of ten Pounds” could sue the winner

to recover the amount they lost, along “with Co[s]ts of Suit.” And should the losing party fail to

initiate that recovery suit within three months without just cause, any other person could bring a

suit against the winning party for treble damages, with half going to the person bringing suit “the

other Moiety to the u[s]e of the Poor of the Pari[s]h.” Resembling the modern qui tam action,

this last provision deputized the public to serve as private Attorneys General, and offered a

financial incentive to induce them to investigate and pursue claims against gamblers.

    25.         Not long after its adoption in Britain, the Statute of Anne crossed the Atlantic and

seeded itself in the laws of many of Britain’s Colonies. That included Maryland. See

Mandeville v. Union Bank of Georgetown, 13 U.S. (9 Cranch) 9, 10 (1815). And when the

District separated from Maryland in 1801, it preserved (as a matter of custom) both the British

common law and statutes that had been in force in Maryland at the time. See Bank of Columbia

v. Okely, 17 U.S. (4 Wheat.) 235, 242 (1819). Congress would later codify that arrangement,

requiring that the District follow both “[t]he common law, [and] all British statutes in force in

Maryland on February 27, 1801.” Act of March 3, 1901, 31 Stat. 1189, D.C. Code 1951, 49-30.

Because Maryland had the Statute of Anne in 1801, the District inherited it.




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    26.         The District has always preserved that law. Indeed, when Congress revised the

D.C. Code in 1963 to establish provisions relating to D.C.’s Judiciary and Judicial Procedure, it

adopted a new version of the statute – changed slightly for modern times. See 77 Stat. 582, Pub.

L. 88-241, § 1 (Dec. 23, 1963) (codified at D.C. Code §§ 16-1701, 16-1702). That statute has

the same two elements. The first declares unlawful certain obligations created because of

gambling. See D.C. Code § 16-1701. The second provides a tool for recovering sizeable losses:

Any “person who, at any time or sitting,” bets on any game and “loses to a person so playing or

betting, a sum of money, . . . amounting to $25 or more” may “within three months . . . sue for

and recover the money, . . . by a civil action, from the winner thereof, with costs.” Id. § 16-1702.

If they do not, after three months, “any person may sue for, and recover treble the value of the

money, . . . with costs of suit, by a civil action against the winner, one-half to the use of the

plaintiff, the remainder to the use of the District of Columbia.” Id.

    27.         The Statute of Anne remains a valid law of the District – just as it has since the

District’s earliest days.

          C. Congress broadly prohibits sports gambling in the United States

    28.         On June 26, 1991, the U.S. Senate Subcommittee on Patents, Copyrights, and

Trademarks investigated a recent “spread of legalized sports gambling” in certain parts of the

United States. It found significant cause for concern. “Sports gambling,” Congress found,

“threatens the integrity of, and public confidence in, amateur and professional sports.” S. Rep.

102-248, at 5 (1991). Worse, it threatens the wellbeing of the Nation’s youth. Id. Even at that

time, new technology was opening gambling opportunities to younger and younger individuals.

And “[y]oungsters inevitably would find sports gambling schemes that utilize these new

technologies to be highly seductive.” Id. That was especially concerning because in 1991, “[o]f



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the approximately 8 million compulsive gamblers in America, 1 million of them [were] under

20.” Id.

    29.        Congress decided to step in. In 1992, it passed the Professional and Amateur

Sports Protection Act (“PASPA”) by an overwhelming bipartisan vote, and President George

H.W. Bush signed it into law. 28 U.S.C. § 3701 et seq. As relevant here, that law made it

“unlawful for” any “governmental entity to sponsor, operate, advertise, promote, license, or

authorize by law or compact” any “lottery, sweepstakes, or other betting, gambling, or wagering

scheme based, directly or indirectly (through the use of geographical references or otherwise), on

one or more competitive games in which amateur or professional athletes participate, or are

intended to participate, or on one or more performances of such athletes in such games.”

Id. § 3702. For good measure, it made it similarly “unlawful for” any “person to sponsor,

operate, advertise, or promote, pursuant to the law or compact of a governmental entity” the

same. Id.

    30.        States hoping to profit off legalized sports betting fought back. New Jersey

brought a constitutional challenge to PASPA under what has become known as the

“anticommandeering doctrine.” Grounded in the Tenth Amendment’s preservation of state

sovereignty, that doctrine prohibits Congress from directly instructing state legislatures as to

what legislation they may (or, as here, may not) pass. This argument does not imply that

Congress lacks the power to regulate sports gambling directly if it chooses to. Rather, it claims

only that Congress may not regulate sports gambling indirectly by ordering that States decline to

pass laws legalizing the practice.

    31.        Eventually, the Supreme Court accepted New Jersey’s anticommandeering

challenge. In New Jersey Thoroughbred Horsemen’s Association, Inc. v. NCAA, it held that the



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challenged PASPA provision – “prohibiting state authorization of sports gambling – violates the

anticommandeering rule” because it “unequivocally dictates what a state legislature may and

may not do.” 584 U.S. at 474. Under this approach “state legislatures are put under the direct

control of Congress,” and “[i]t is as if federal officers were installed in state legislative chambers

and were armed with the authority to stop legislators from voting on any offending proposals.”

Id. Few things, the Court imagined, could present a “more direct affront to state sovereignty.”

Id. And because Congress would not have meant only some of PASPA’s provisions in isolation

to run against the States, the Court concluded that no aspect of PASPA restricts the ability of

“each State . . . to act on its own” to regulate sports betting. Id. at 486.

    32.         New Jersey did not purport to discuss PASPA’s potential application to non-

States, such as Washington, D.C. And that makes sense. Because “Congress has the entire

control over the [D]istrict for every purpose of government,” the District cannot raise an

anticommandeering claim against it. Kendall v. United States ex rel. Stokes, 37 U.S. (12 Pet.)

524, 619 (1838); see, e.g., Burban v. City of Neptune Beach, 920 F.3d 1274, 1283 (11th Cir.

2019); DuBerry v. District of Columbia., 824 F.3d 1046, 1057 (D.C. Cir. 2016). So while the

Supreme Court held that the anticommandeering doctrine prevented PASPA’s application to the

States, the statute remained in force in those areas subject to direct federal control where the

Tenth Amendment and state sovereignty do not limit Congress’s power to govern indirectly.

          D.    The District purports to legalize sports gambling

    33.         Following New Jersey, several U.S. jurisdictions raced to legalize sports gambling

(to varying degrees). Concerned it would be left behind if it did not follow suit – and evidently

ignoring that New Jersey did not free it from PASPA’s reach – the District eventually joined in.

On May 3, 2019, D.C.’s Sports Wagering Lottery Amendment Act of 2018 (“SWLAA”) (D.C.



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Act 22-594) took effect. In relevant part, it amended the D.C. Code so that the Code cannot be

“construed to prohibit the operation of or participation in . . . sports wagering regulated, licensed,

or operated by the Office of Lottery and Gaming.” D.C. Code § 22-1717. In other words, the

District purported to remove what (under PASPA) was a firm prohibition on sports gambling.

    34.        Notably, the SWLAA did not purport to displace the Statute of Anne. Rather

(setting aside the fact that PASPA prohibited the SWLAA’s passage) the acts fit together hand in

glove. Under the SWLAA, sportsbooks could lawfully open in the District. But they would

have to limit themselves to offering only low-stakes games. If they caused a gambler in the

District to lose $25 or more in a single sitting, that gambler could sue to get his or her money

back via the Statute of Anne’s private right of action. And if he or she failed to do so within the

three-month window, others could enforce the law in his or her stead; suing for treble damages

and splitting the recovery with the District.

    35.        Defendants embraced this risk and rushed to set up shop within the District. In

2021, Caesars Sportsbook opened a brick-and-mortar location within Capital One Arena – the

first betting venue housed within a professional sports facility in the Nation. The next year,

FanDuel opened a venue at Audi Field, and BetMGM matched with one of its own at Nationals

Park. In parallel, online sports gambling became available in various parts of the District. In

person and online, District residents and visitors now use Defendants’ products to gamble

millions each month on various sporting competitions.

    36.        The recent uptick in sports gambling has had dire public health consequences. In

the years since New Jersey, nationwide searches for terms like “gambling addiction hotline” and

“am I a gambling addict” have spiked by 23%. Much of the growth has been driven by young

Americans. One survey found that “[n]early two-thirds of adolescents, ages 12 to 18, said they



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had gambled or played gambling-like games in the previous year.” 3 Another found that some

58% of 18- to 22-year-olds gamble on sports each year, with roughly 10% gambling on sports

each week and 4% doing so daily. 4 Sports gambling addictions begin as early as age 10, and

studies have found that between 4% and 8% suffer from problem gambling. 5 Those addictions

can prove financially ruinous, with young students regularly losing tens, hundreds, or even

thousands of dollars in a single day. 6 Beyond that financial cost, the habit takes a severe

emotional toll. Of problem gamblers who have sought out treatment, “between 22 and 81

percent . . . have been found to have suicidal ideations,” and “between 7 and 30 percent of

individuals have had suicide attempts.” 7

     37.              The District follows these concerning national patterns. The National Council on

Problem Gambling “estimates 15,000 people with a gambling addiction may live in D.C.” 8 That

number has rocketed up over time. In 2022, the National Council received “4,892 calls from D.C.

residents to its [gambling] helpline, a 35% increase over 2021.” 9 And 2021 itself represented a

“109% increase from the year before.” 10 The D.C. Department of Behavioral Health has warned




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           Emily Sohn, How gambling affects the brain and who is most vulnerable to addiction, Am. Psychological
Ass’n (July 1, 2023), https://perma.cc/5UXM-H9W6.
           Opinion Diagnostics, Sports Betting Activities Survey – April 2023 – Key Findings, NCAA (Apr. 2023),
           4

https://perma.cc/8Q95-TVG9.
          Mass. Dep’t of Health, Let’s talk risk – A guide to discussing gambling with your child,
           5

https://www.mass.gov/doc/youth-risk-a-problem-gambling-toolkit/download.
           Opinion Diagnostics, Sports Betting Activities Survey – April 2023 – Key Findings, NCAA (Apr. 2023),
           6

https://perma.cc/8Q95-TVG9.
         7
           Virve Marionneau & Janne Nikkinen, Gambling-related suicides and suicidality: A systematic review of
qualitative evidence, Frontiers in Psychiatry (Oct. 26, 2022), https://perma.cc/6CAK-UGRN.
         Martin Austermuhle, Sports Betting In D.C. Was Supposed To Fund Gambling Addiction Treatment. That
           8

Hasn’t Happened, DCist (Mar. 30, 2023), https://perma.cc/JXW6-FZF7.
           9
               Id.
           10
                Id.

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that “the District may be significantly underserving this population,” as it spends just “30 cents

per capita” combatting gambling addictions, “below the national average of 40 cents.” 11

    38.             This lawsuit aims to allay some of those public health harms. The Statute of Anne

entitles the District to half of any eventual recovery in this litigation. The District may well choose

to use some of the sportsbooks’ ill-gotten gains to help clean up the mess those companies have

made.

                                              COUNT I
                                   (Claim under D.C. Code § 16-1702)

    39.             Plaintiff brings this count against all Defendants under the Statute of Anne, D.C.

Code § 16-1702.

    40.             Upon information and belief, since the passage of the SWLAA and continuing

through the present, thousands of individuals within the District of Columbia have lost – and

continue to lose – more than $25 at any single time or sitting by playing at games of chance (i.e.,

gambling) with Defendants, and have not sued to recover those losses within three months of

payment to Defendants. Because D.C. law requires Defendants to keep detailed records

regarding its users, their ages, and the amounts lost and won by those users, see D.C. Code § 36-

621.07, the identity and precise number of such gamblers (“Gambling Victims”) is within the

unique possession of Defendants.

    41.             Defendants are gambling “winner[s]” within the meaning of D.C. Code § 16-

1702.




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              Id.

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    42.        Plaintiff qualifies as a “person” authorized to sue for the recovery losses at

gaming within the meaning of D.C. Code § 16-1702. Plaintiff has not colluded with any

Gambling Victims in bringing this action.

                                 DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a jury trial.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment against Defendant and respectfully requests

that the Court grant the following relief:

       A. Declaring that the Defendants are liable under the Statute of Anne, D.C. Code § 16-

           1702;

       B. Awarding eligible damages, continuing until the time of final judgment, based on

           treble the value of the money, goods, chattels, or other things lost to Defendants at

           gambling, one-half to the use of the Plaintiff, the remainder to the use of the District

           of Columbia;

       C. Awarding the costs of prosecuting this action, including reasonable attorney’s fees,

           experts’ fees, and litigation costs together with interest;

       D. Awarding pre- and post-judgment interest as allowed by law; and

       E. Granting such other relief as the Court deems proper.




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Dated: February 28, 2025               Respectfully submitted,

                                       /s/ Derek T. Ho
                                       ________________________________________________________________________________________________________________________________________________________________________




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                                       Eliana Margo Pfeffer (D.C. Bar No. 1723571)
                                       Mark P. Hirschboeck (D.C. Bar No. 1618827)
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                                       mhirschboeck@kellogghansen.com
                                       kgrigel@kellogghansen.com
                                       Counsel for Plaintiff
            Case 1:25-cv-01023-CJN                        Document 1-1                 Filed 04/04/25                 Page 18 of 32


         Superior Court of the District of Columbia
                                              CIVIL DIVISION CIVIL ACTIONS BRANCH
                                                                    -




                                                              INFORMATION SHEET
                                                                                                                  2025-CAB-001265
      DC GAMBLING RECOVERY LLC                                            Case Number:
                             Plaintiff(s)
                                 vS                                       Date: 2/28/2025

      See Attachment A for names of Defendants                                 One of the defendants is being sued
                            Defendant(s)                                       in their official capacity.

     Name: (Please Print)                                                                    Relationship to Lawsuit
    Derek T. Ho
     Firm Name:                                                                                         Attorney for Plaintiff
    KELLOGG, HANSEN, TODD, FIGEL & FREDERICK, P.L.L.C
                           DC Bar No.:
                                                                                                   [] Self (Pro Se)
     Telephone No.:
    (202) 326-7900        488609                                                                   O Other:
     TYPE OF CASE:              Non-Jury                CL] 6 Person Jury                               12 Person Jury
     Demand: $                                                                      Other: Greater than $10,000, in an amount to be determined at trial

     PENDING CASE(S) RELATED TO THE ACTION BEING FILED
     Case No.:                                         Judge:                                   Calendar #:

     Case No.:                                         Judge:                                   Calendar #:


NATURE OF SUIT:             (Check One Box Only)
CONTRACT                                    COLLECTION/INS. SUB                                         EMPLOYMENT DISPUTE
   Breach of Contract                       Debt Collection                                               Breach of Contract

   Breach of Warranty                       Insurance Subrogation                                         Discrimination

   Condo/Homeowner Assn. Fees               Motion/Application for Judgment by Confession                 Wage Claim
   Contract Enforcement                     Motion/Application Regarding Arbitration Award                Whistle Blower

   Negotiable Instrument                                                                                  Wrongful Termination


REAL PROPERTY                                                                                                [] FRIENDLY SUIT
  Condo/Homeowner Assn. Foreclosure                Ejectment                  Other
                                                                                                             [] HOUSING CODE REGULATIONS
  Declaratory Judgment                             Eminent Domain             Quiet Title
                                                                                                             [] QUI TAM
  Drug Related Nuisance Abatement                  Interpleader                Specific Performance          [] STRUCTURED SETTLEMENTS
ADMINISTRATIVE PROCEEDINGS                                                                                     AGENCY APPEAL
  Administrative Search Warrant                                         Release Mechanics Lien                        Dangerous Animal Determination

  App. for Entry of Jgt. Defaulted Compensation Benefits                Request for Subpoena                          DCPS Residency Appeal
  Enter Administrative Order as Judgment                          MALPRACTICE                                         Merit Personnel Act (OEA)
  Libel of Information                                              Medical     -

                                                                                    Other                             Merit Personnel Act (OHR)
  Master Meter                                                                                                        Other Agency Appeal
                                                                    Wrongful Death
  Petition Other
                                                              O APPLICATION FOR INTERNATIONAL FOREIGN JJUDGMENT


     CV-496/February 2023
                Case 1:25-cv-01023-CJN               Document 1-1            Filed 04/04/25      Page 19 of 32


                                 Information Sheet, Continued


CIVIL ASSET FORFEITURE                                               TORT
a   Currency                                                         O Abuse of Process
CL] Other                                                            O Assault/Battery
CL] Real Property                                                    O Conversion
CL] Vehicle                                                          O False Arrest/Malicious Prosecution
NAME CHANGE/VITAL RECORD AMENDMENT                                   O Libel/SlanderDefamation
CL] Birth Certificate Amendment                                      O Personal Injury
CL] Death Certificate Amendment                                      O Toxic Mass
a   Gender Amendment
                                                                     O Wrongful Death (Non-Medical Malpractice)
a   Name Change

GENERAL CIVIL                                        CL] Product Liability
                                                                                           STATUTORY CLAIM
CL] Accounting                                       CL] Request for Liquidation           [] Anti SLAPP
                                                                                                   -




CL] Deceit (Misrepresentation)
                                                     CL] Writ of Replevin                  O Consumer Protection Act
a   Fraud
                                                      O Wrongful Eviction                  CL] Exploitation of Vulnerable Adult
a   Invasion of Privacy                              CIVIL VCOMPLEX CIVIL                  CL] Freedom of Information Act (FOIA)
CT Lead Paint                                         LJasbestos                            v Other
CL] Legal Malpractice                                MORTGAGE FORECLOSURE                  TAX SALE FORECLOSURE
CL] Motion/Application Regarding Arbitration Award    O Non-Residential                    CL] Tax Sale Annual
CL] Other General Civil
            -

                                                      O Residential                        []  Tax Sale Bid Off

VEHICLE
a   Personal Injury
                              a TRAFFIC ADJUDICATION APPEAL
a   Property Damage           CL] REQUEST FOR FOREIGN JUDGMENT




                                                                                   2/28/2025
                      /s/Derek T. Ho

                      Filer/Attomey's Signature                                                  Date




      CV-496/F ebruary 2023
     Case 1:25-cv-01023-CJN          Document 1-1     Filed 04/04/25   Page 20 of 32




                                       Attachment A

Defendants

AMERICAN WAGERING, INC.
dba CAESARS SPORTSBOOK
One Caesars Palace Drive
Las Vegas, NV 89109

BETFAIR INTERACTIVE US
dba FANDUEL
6701 Center Drive West, Suite 1000
Los Angeles, CA 90045

BETMGM, LLC
Harborside Plaza 2
200 Hudson Street, Suite 700
Jersey City, NJ 07311

CROWN DC GAMING LLC
dba DRAFTKINGS INC.
222 Berkeley St., 5th Fl.
Boston, MA 02116

FBG ENTERPRISES OPCO, LLC
dba FANATICS, INC.
95 Morton Street
New York, NY 10014
      Case 1:25-cv-01023-CJN        Document 1-1     Filed 04/04/25    Page 21 of 32




            IN THE SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                       CIVIL DIVISION

  DC GAMBLING RECOVERY LLC
  1001 N. West St. Ste. 1501
  Wilmington, DE 19801                          Case No, 2025-CAB-001265

               Plaintiff,



  AMERICAN WAGERING, INC.
  dba CAESARS SPORTSBOOK
  One Caesars Palace Drive
  Las Vegas, NV 89109

  BETFAIR INTERACTIVE US LLC
  dba FANDUEL
  6701 Center Drive West, Suite 1000
  Los Angeles, CA 90045

  BETMGM, LLC
  Harborside Plaza 2
  200 Hudson Street, Suite 700
  Jersey City, NJ 07311

  CROWN DC GAMING LLC
  dba DRAFTKINGS
  222 Berkeley St., 5th FI.
  Boston, MA 02116

  FBG ENTERPRISES OPCO, LLC
  dba FANATICS
  95 Morton Street
  New York, NY 10014

               Defendants.


                             RULE 7.1 DISCLOSURE STATEMENT
       Pursuant to D.C. Superior Court Civil Rule 7.1, Plaintiff DC Gambling Recovery LLC

hereby states as follows:
     Case 1:25-cv-01023-CJN          Document 1-1                                     Filed 04/04/25                                                                               Page 22 of 32




       Plaintiff DC Gambling Recovery LLC has no parent entity, nor does any publicly held

entity own 10% or more of its stock or other ownership interest.



Dated: February 28, 2025                            Respectfully submitted,

                                                    /s/ Derek T. Ho
                                                    ________________________________________________________________________________________________________________________________________________________________________




                                                    Derek T. Ho (D.C. Bar No. 488609)
                                                    Eliana Margo Pfeffer (D.C. Bar No. 1723571)
                                                    Mark P. Hirschboeck (D.C. Bar No. 1618827)
                                                    Kyle B. Grigel (D.C. Bar No. 90031164)
                                                    KELLOGG, HANSEN, TODD, FIGEL & FREDERICK,
                                                      P.L.L.C.
                                                    1615 M Street, N.W., Suite 400
                                                    Washington, D.C. 20036
                                                    Tel: (202) 326-7900
                                                    Fax: (202) 326-7999
                                                    dho@kellogghansen.com
                                                    epfeffer@kellogghansen.com
                                                    mhirschboeck@kellogghansen.com
                                                    kgrigel@kellogghansen.com
                                                    Counsel for Plaintiff




                                                2
              Case 1:25-cv-01023-CJN     Document
                               Superior Court        1-1 Filed
                                              of the District      04/04/25
                                                              of Columbia                              Page 23 of 32
                                           CIVIL DIVISION
                                                         Civil Actions Branch
                                 500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001
                                      Telephone: (202) 879-1133 Website: www.dccourts.gov

      DC GAMBLING RECOVERY LLC
                                                              Plaintiff
                                     VS.

                                                                                            Case Number          2025-CAB-001265
      AMERICAN WAGERING, INC. dba CAESARS SPORTSBOOK
                                                             Defendant

                                                             SUMMONS
  To the above named Defendant:

          You are hereby summoned and required to serve an Answer to the attached Complaint, either
  personally or through an attorney, within twenty one (21) days after service of this summons upon you,
  exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
  or the District of Columbia Government, you have sixty (60) days after service of this summons to serve your
  Answer. A copy of the Answer must be mailed to the attorney for the plaintiff who is suing you. The
  attorney's name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
  to the plaintiff at the address stated on this Summons.

           You are also required to file the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
 N.W., between 8:30 a.m. and 5:00 p.m., Mondays through Fridays or between 9:00 a.m. and 12:00 noon on
  Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
 the plaintiff or within seven (7) days after you have served the plaintiff. If you fail to file an Answer,
 judgment by default may be entered against you for the relief demanded in the complaint

 Derek T. Ho                                                                          Clerk of the Court
 Name of Plaintiff's Attorney                                                                                                        :




 KELLOGG, HANSEN, TODD, FIGEL & FREDERICK, P.L.L.C
                                                                          By
 Address                                                                                           Deputy Clerk                  :
 1615 M Street, N.W., Suite 400 Washington, D.C. 20036
                                                                                                  March 3, 2025
 202-326-7900                                                             Date
 Telephone
  = Bik BITRE (202) 879-4828
 QO                          Veuillez appeler au (202) 879-4828 pour une traduction    Dé c6 mét bai dich, hay goi (202) 879-4828
 HAS ASAE, (202)879-4828 BSA&                                  (202)  879-4828     Leow


   IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE, OR IF, AFTER YOU
 ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT
 MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN THE
 COMPLAINT. IF THIS OCCURS, YOUR WAGES MAY BE ATTACHED OR WITHHELD OR PERSONAL PROPERTY OR
 REAL ESTATE YOU OWN MAY BE TAKEN AND SOLD TO PAY THE JUDGMENT. IF YOU INTEND TO OPPOSE THIS
 ACTION, DO NOT FAIL TO ANSWER WITHIN THE REQUIRED TIME.

    If you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer, promptly contact one of the offices of the
 Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202-279-5100) for help or come to Suite 5000 at 500
 Indiana Avenue, N.W., for more information concerning places where you may ask for such help.

                                                See reverse side for Spanish translation
                                                 Vea al dorso la traduccién al espafiol




CV-3110 [Rev. June 2017]                                                                                            Super. Ct. Civ. R. 4
                    Case 1:25-cv-01023-CJN                  Document 1-1              Filed 04/04/25           Page 24 of 32

                                        TRIBUNAL SUPERIOR DEL DISTRITO DE COLUMBIA
                                                                    DIVISIÓN CIVIL
                                                              Sección de Acciones Civiles
                                            500 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
                                                       Washington,
                                                   Teléfono:        DC 20001
                                                             (202) 879-1133   Teléfono
                                                                            Sitio       879-1133
                                                                                  web: www.dccourts.gov



          DC GAMBLING RECOVERY LLC
                                                                  Demandante
                                        contra
                                                                                                 Número de Caso:
           AMERICAN WAGERING, INC. dba CAESARS SPORTSBOOK
                                                                  Demandado

                                                                  CITATORIO
       Al susodicho Demandado:
                Por la presente se le cita a comparecer y se le require entregar una Contestación a la Demanda adjunta, sea en
       persona o por medio de un abogado, en el plazo de veintiún (21) días contados después que usted haya recibido este
       citatorio, excluyendo el día mismo de la entrega del citatorio. Si usted está siendo demandado en calidad de oficial o
       agente del Gobierno de los Estados Unidos de Norteamérica o del Gobierno del Distrito de Columbia, tiene usted
       sesenta (60) días, contados después que usted haya recibido este citatorio, para entregar su Contestación. Tiene que
       enviarle por correo una copia de su Contestación al abogado de la parte demandante. El nombre y dirección del
       abogado aparecen al final de este documento. Si el demandado no tiene abogado, tiene que enviarle al demandante una
       copia de la Contestación por correo a la dirección que aparece en este Citatorio.

               A usted también se le require presentar la Contestación original al Tribunal en la Oficina 5000, sito en 500
       Indiana Avenue, N.W., entre las 8:30 a.m. y 5:00 p.m., de lunes a viernes o entre las 9:00 a.m. y las 12:00 del mediodía
       los sábados. Usted puede presentar la Contestación original ante el Juez ya sea antes que usted le entregue al
       demandante una copia de la Contestación o en el plazo de siete (7) días de haberle hecho la entrega al demandante. Si
       usted incumple con presentar una Contestación, podría dictarse un fallo en rebeldía contra usted para que se haga
       efectivo el desagravio que se busca en la demanda.
        Derek T. Ho                                                         SECRETARIO DEL TRIBUNAL
      Nombre del abogado del Demandante

        KELLOGG, HANSEN, TODD, FIGEL & FREDERICK, P.L.L.C.                    Por:
      Dirección                                                                                           Subsecretario
        1615 M Street, N.W., Suite 400 Washington, D.C. 20036


       202-326-7900                                                           Fecha
      Teléfono
      Ⱁ榏劊幠,庆㓢䟄幬 (202) 879-4828               Veuillez appeler au (202) 879-4828 pour une traduction   ĈӇFyPӝWEjLGӏFKKm\JӑL(202) 879-4828
                   ꘽꾢냹 낅뼍겑ꐩ, (202) 879-4828 ꈑ 놹쀉늱겢겑끉                      Õ0 p0õ        ùp (202) 879-4828      ÚÜ¼


        IMPORTANTE: SI USTED INCUMPLE CON PRESENTAR UNA CONTESTACIÓN EN EL PLAZO ANTES
      MENCIONADO O, SI LUEGO DE CONTESTAR, USTED NO COMPARECE CUANDO LE AVISE EL JUZGADO, PODRÍA
      DICTARSE UN FALLO EN REBELDÍA CONTRA USTED PARA QUE SE LE COBRE LOS DAÑOS Y PERJUICIOS U OTRO
      DESAGRAVIO QUE SE BUSQUE EN LA DEMANDA. SI ESTO OCURRE, PODRÍA RETENÉRSELE SUS INGRESOS, O
      PODRÍA TOMÁRSELE SUS BIENES PERSONALES O BIENES RAÍCES Y SER VENDIDOS PARA PAGAR EL FALLO. SI
      USTED PRETENDE OPONERSE A ESTA ACCIÓN, NO DEJE DE CONTESTAR LA DEMANDA DENTRO DEL PLAZO
      EXIGIDO.

         Si desea conversar con un abogado y le parece que no puede pagarle a uno, llame pronto a una de nuestras oficinas del Legal Aid
      Society (202-628-1161) o el Neighborhood Legal Services (202-279-5100) para pedir ayuda o venga a la Oficina 5000 del 500
      Indiana Avenue, N.W., para informarse sobre otros lugares donde puede pedirayuda al respecto.

                                                       Vea al dorso el original en inglés
                                                      See reverse side for English original
CV-3110 [Rev. June 2017]                                                                                              Super. Ct. Civ. R. 4
                 Case 1:25-cv-01023-CJN     Document
                                  Superior Court        1-1 Filed
                                                 of the District      04/04/25
                                                                 of Columbia                                       Page 25 of 32
                                              CIVIL DIVISION
                &                                               Civil Actions Branch
                                      500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001
                                           Telephone: (202) 879-1133 Website: www.dccourts.gov
                      29




       DC GAMBLING RECOVERY LLC
                                                                      Plaintiff
                                         vs.
                                                                                                        CaseNumber           2025-CAB-001265
       BETFAIR INTERACTIVE US dba FANDUEL
                                                                     Defendant

                                                                     SUMMONS
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  the plaintiff or within seven (7) days after you have served the plaintiff. If you fail to file an Answer,
 judgment by default may be entered against you for the relief demanded in the complaint.

 Derek T. Ho                                                                                     Clerk of the Court
 Name of Plaintiff's Attorney                                                                                                                       :




                                                                                                                               1


 KELLOGG, HANSEN, TODD, FIGEL & FREDERICK, P.L.L.C
                                                                                  By
 Address                                                                                                      Deputy Clerk                      :
 1615 M Street, N.W., Suite 400 Washington, D.C. 20036
                                                                                                             March 3, 2025
 202-326-7900                                                                     Date
 Telephone
 QO   = Bik i837 aig (202) 879-4828            Veuillez appeler au (202) 879-4828 pour une traduction     Dé c6 mét bai dich, hay goi (202) 879-4828

 HSS HSA, (202)879-4828               MSAD                                        (202) 879-4828    Leow


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CV-3110 [Rev. June 2017]                                                                                                           Super. Ct. Civ. R. 4
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                                        TRIBUNAL SUPERIOR DEL DISTRITO DE COLUMBIA
                                                                    DIVISIÓN CIVIL
                                                              Sección de Acciones Civiles
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                                                   Teléfono:        DC 20001
                                                             (202) 879-1133   Teléfono
                                                                            Sitio       879-1133
                                                                                  web: www.dccourts.gov



          DC GAMBLING RECOVERY LLC
                                                                  Demandante
                                        contra
                                                                                                 Número de Caso:
           BETFAIR INTERACTIVE US dba FANDUEL
                                                                  Demandado

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      Nombre del abogado del Demandante

        KELLOGG, HANSEN, TODD, FIGEL & FREDERICK, P.L.L.C.                    Por:
      Dirección                                                                                           Subsecretario
        1615 M Street, N.W., Suite 400 Washington, D.C. 20036


       202-326-7900                                                           Fecha
      Teléfono
      Ⱁ榏劊幠,庆㓢䟄幬 (202) 879-4828               Veuillez appeler au (202) 879-4828 pour une traduction   ĈӇFyPӝWEjLGӏFKKm\JӑL(202) 879-4828
                   ꘽꾢냹 낅뼍겑ꐩ, (202) 879-4828 ꈑ 놹쀉늱겢겑끉                      Õ0 p0õ        ùp (202) 879-4828      ÚÜ¼


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                                                       Vea al dorso el original en inglés
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CV-3110 [Rev. June 2017]                                                                                              Super. Ct. Civ. R. 4
                Case 1:25-cv-01023-CJN     Document
                                 Superior Court        1-1 Filed
                                                of the District      04/04/25
                                                                of Columbia                                     Page 27 of 32
                                             CIVIL DIVISION
                                                             Civil Actions Branch
                                   500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001
                                        Telephone: (202) 879-1133 Website: www.dccourts.gov

       DC GAMBLING RECOVERY LLC
                                                                   Plaintiff
                                      VS.

                                                                                                     Case Number          2025-CAB-001265
       BETMGM, LLC
                                                                  Defendant

                                                                  SUMMONS
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 the plaintiff or within seven (7) days after you have served the plaintiff. If you fail to file an Answer,
 judgment by default may be entered against you for the relief demanded in the complaint

 Derek T. Ho                                                                                  Clerk of the Court
 Name of Plaintiff's Attorney                                                                                                                   :




 KELLOGG, HANSEN, TODD, FIGEL & FREDERICK, P.L.L.C
                                                                               By
 Address                                                                                                   Deputy Clerk                     :
 1615 M Street, N.W., Suite 400 Washington, D.C. 20036
                                                                                                          March 3, 2025
 202-326-7900                                                                  Date
 Telephone
 QO   = Bik BITRE (202) 879-4828            Veuillez appeler au (202) 879-4828 pour une traduction     Dé c6 mét bai dich, hay goi (202) 879-4828

 HSS ASAE, (202)879-4828 BSA&                                                  (202) 879-4828    Leow


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 ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT
 MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN THE
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 Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202-279-5100) for help or come to Suite 5000 at 500
 Indiana Avenue, N.W., for more information concerning places where you may ask for such help.

                                                    See reverse side for Spanish translation
                                                     Vea al dorso la traduccién al espafiol




CV-3110 [Rev. June 2017]                                                                                                      Super. Ct. Civ. R. 4
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                                        TRIBUNAL SUPERIOR DEL DISTRITO DE COLUMBIA
                                                                    DIVISIÓN CIVIL
                                                              Sección de Acciones Civiles
                                            500 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
                                                       Washington,
                                                   Teléfono:        DC 20001
                                                             (202) 879-1133   Teléfono
                                                                            Sitio       879-1133
                                                                                  web: www.dccourts.gov



          DC GAMBLING RECOVERY LLC
                                                                  Demandante
                                        contra
                                                                                                 Número de Caso:
           BETMGM, LLC
                                                                  Demandado

                                                                  CITATORIO
       Al susodicho Demandado:
                Por la presente se le cita a comparecer y se le require entregar una Contestación a la Demanda adjunta, sea en
       persona o por medio de un abogado, en el plazo de veintiún (21) días contados después que usted haya recibido este
       citatorio, excluyendo el día mismo de la entrega del citatorio. Si usted está siendo demandado en calidad de oficial o
       agente del Gobierno de los Estados Unidos de Norteamérica o del Gobierno del Distrito de Columbia, tiene usted
       sesenta (60) días, contados después que usted haya recibido este citatorio, para entregar su Contestación. Tiene que
       enviarle por correo una copia de su Contestación al abogado de la parte demandante. El nombre y dirección del
       abogado aparecen al final de este documento. Si el demandado no tiene abogado, tiene que enviarle al demandante una
       copia de la Contestación por correo a la dirección que aparece en este Citatorio.

               A usted también se le require presentar la Contestación original al Tribunal en la Oficina 5000, sito en 500
       Indiana Avenue, N.W., entre las 8:30 a.m. y 5:00 p.m., de lunes a viernes o entre las 9:00 a.m. y las 12:00 del mediodía
       los sábados. Usted puede presentar la Contestación original ante el Juez ya sea antes que usted le entregue al
       demandante una copia de la Contestación o en el plazo de siete (7) días de haberle hecho la entrega al demandante. Si
       usted incumple con presentar una Contestación, podría dictarse un fallo en rebeldía contra usted para que se haga
       efectivo el desagravio que se busca en la demanda.
        Derek T. Ho                                                         SECRETARIO DEL TRIBUNAL
      Nombre del abogado del Demandante

        KELLOGG, HANSEN, TODD, FIGEL & FREDERICK, P.L.L.C.                    Por:
      Dirección                                                                                           Subsecretario
        1615 M Street, N.W., Suite 400 Washington, D.C. 20036


       202-326-7900                                                           Fecha
      Teléfono
      Ⱁ榏劊幠,庆㓢䟄幬 (202) 879-4828               Veuillez appeler au (202) 879-4828 pour une traduction   ĈӇFyPӝWEjLGӏFKKm\JӑL(202) 879-4828
                   ꘽꾢냹 낅뼍겑ꐩ, (202) 879-4828 ꈑ 놹쀉늱겢겑끉                      Õ0 p0õ        ùp (202) 879-4828      ÚÜ¼


        IMPORTANTE: SI USTED INCUMPLE CON PRESENTAR UNA CONTESTACIÓN EN EL PLAZO ANTES
      MENCIONADO O, SI LUEGO DE CONTESTAR, USTED NO COMPARECE CUANDO LE AVISE EL JUZGADO, PODRÍA
      DICTARSE UN FALLO EN REBELDÍA CONTRA USTED PARA QUE SE LE COBRE LOS DAÑOS Y PERJUICIOS U OTRO
      DESAGRAVIO QUE SE BUSQUE EN LA DEMANDA. SI ESTO OCURRE, PODRÍA RETENÉRSELE SUS INGRESOS, O
      PODRÍA TOMÁRSELE SUS BIENES PERSONALES O BIENES RAÍCES Y SER VENDIDOS PARA PAGAR EL FALLO. SI
      USTED PRETENDE OPONERSE A ESTA ACCIÓN, NO DEJE DE CONTESTAR LA DEMANDA DENTRO DEL PLAZO
      EXIGIDO.

         Si desea conversar con un abogado y le parece que no puede pagarle a uno, llame pronto a una de nuestras oficinas del Legal Aid
      Society (202-628-1161) o el Neighborhood Legal Services (202-279-5100) para pedir ayuda o venga a la Oficina 5000 del 500
      Indiana Avenue, N.W., para informarse sobre otros lugares donde puede pedirayuda al respecto.

                                                       Vea al dorso el original en inglés
                                                      See reverse side for English original
CV-3110 [Rev. June 2017]                                                                                              Super. Ct. Civ. R. 4
               Case 1:25-cv-01023-CJN     Document
                                Superior Court        1-1 Filed
                                               of the District      04/04/25
                                                               of Columbia                             Page 29 of 32
                                            CIVIL DIVISION
                                                         Civil Actions Branch
                                 500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001
           A                          Telephone: (202) 879-1133 Website: www.dccourts.gov

      DC GAMBLING RECOVERY LLC
                                                              Plaintiff
                                     VS.

                                                                                            Case Number          2025-CAB-001265
      CROWN DC GAMING LLC dba DRAFTKINGS INC.
                                                             Defendant

                                                             SUMMONS
  To the above named Defendant:

          You are hereby summoned and required to serve an Answer to the attached Complaint, either
  personally or through an attorney, within twenty one (21) days after service of this summons upon you,
  exclusive of the day of service. If you are being sued as an officer or agency of the United States Government
  or the District of Columbia Government, you have sixty (60) days after service of this summons to serve your
  Answer. A copy of the Answer must be mailed to the attorney for the plaintiff who is suing you. The
  attorney's name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
  to the plaintiff at the address stated on this Summons.

           You are also required to file the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
 N.W., between 8:30 a.m. and 5:00 p.m., Mondays through Fridays or between 9:00 a.m. and 12:00 noon on
  Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
 the plaintiff or within seven (7) days after you have served the plaintiff. If you fail to file an Answer,
 judgment by default may be entered against you for the relief demanded in the complaint

 Derek T. Ho                                                                          Clerk of the Court
 Name of Plaintiff's Attorney                                                                                                        :




 KELLOGG, HANSEN, TODD, FIGEL & FREDERICK, P.L.L.C
                                                                          By
 Address                                                                                           Deputy Clerk                  :
 1615 M Street, N.W., Suite 400 Washington, D.C. 20036
                                                                                                  March 3, 2025
 202-326-7900                                                             Date
 Telephone
  = Bik BITRE (202) 879-4828
 QO                          Veuillez appeler au (202) 879-4828 pour une traduction    Dé c6 mét bai dich, hay goi (202) 879-4828
 HAS ASAE, (202)879-4828 BSA&                                  (202)  879-4828     Leow


   IMPORTANT: IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE, OR IF, AFTER YOU
 ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT
 MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN THE
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 ACTION, DO NOT FAIL TO ANSWER WITHIN THE REQUIRED TIME.

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 Legal Aid Society (202-628-1161) or the Neighborhood Legal Services (202-279-5100) for help or come to Suite 5000 at 500
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CV-3110 [Rev. June 2017]                                                                                            Super. Ct. Civ. R. 4
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                                        TRIBUNAL SUPERIOR DEL DISTRITO DE COLUMBIA
                                                                    DIVISIÓN CIVIL
                                                              Sección de Acciones Civiles
                                            500 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
                                                       Washington,
                                                   Teléfono:        DC 20001
                                                             (202) 879-1133   Teléfono
                                                                            Sitio       879-1133
                                                                                  web: www.dccourts.gov



          DC GAMBLING RECOVERY LLC
                                                                  Demandante
                                        contra
                                                                                                 Número de Caso:
           CROWN DC GAMING LLC dba DRAFTKINGS INC.
                                              Demandado

                                                                  CITATORIO
       Al susodicho Demandado:
                Por la presente se le cita a comparecer y se le require entregar una Contestación a la Demanda adjunta, sea en
       persona o por medio de un abogado, en el plazo de veintiún (21) días contados después que usted haya recibido este
       citatorio, excluyendo el día mismo de la entrega del citatorio. Si usted está siendo demandado en calidad de oficial o
       agente del Gobierno de los Estados Unidos de Norteamérica o del Gobierno del Distrito de Columbia, tiene usted
       sesenta (60) días, contados después que usted haya recibido este citatorio, para entregar su Contestación. Tiene que
       enviarle por correo una copia de su Contestación al abogado de la parte demandante. El nombre y dirección del
       abogado aparecen al final de este documento. Si el demandado no tiene abogado, tiene que enviarle al demandante una
       copia de la Contestación por correo a la dirección que aparece en este Citatorio.

               A usted también se le require presentar la Contestación original al Tribunal en la Oficina 5000, sito en 500
       Indiana Avenue, N.W., entre las 8:30 a.m. y 5:00 p.m., de lunes a viernes o entre las 9:00 a.m. y las 12:00 del mediodía
       los sábados. Usted puede presentar la Contestación original ante el Juez ya sea antes que usted le entregue al
       demandante una copia de la Contestación o en el plazo de siete (7) días de haberle hecho la entrega al demandante. Si
       usted incumple con presentar una Contestación, podría dictarse un fallo en rebeldía contra usted para que se haga
       efectivo el desagravio que se busca en la demanda.
        Derek T. Ho                                                         SECRETARIO DEL TRIBUNAL
      Nombre del abogado del Demandante

        KELLOGG, HANSEN, TODD, FIGEL & FREDERICK, P.L.L.C.                    Por:
      Dirección                                                                                           Subsecretario
        1615 M Street, N.W., Suite 400 Washington, D.C. 20036


       202-326-7900                                                           Fecha
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      Ⱁ榏劊幠,庆㓢䟄幬 (202) 879-4828               Veuillez appeler au (202) 879-4828 pour une traduction   ĈӇFyPӝWEjLGӏFKKm\JӑL(202) 879-4828
                   ꘽꾢냹 낅뼍겑ꐩ, (202) 879-4828 ꈑ 놹쀉늱겢겑끉                      Õ0 p0õ        ùp (202) 879-4828      ÚÜ¼


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                                               of the District      04/04/25
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                                                         Civil Actions Branch
                                 500 Indiana Avenue, N.W., Suite 5000 Washington, D.C. 20001
           A                          Telephone: (202) 879-1133 Website: www.dccourts.gov

      DC GAMBLING RECOVERY LLC
                                                              Plaintiff
                                     VS.

                                                                                            Case Number          2025-CAB-001265
      FBG ENTERPRISES OPCO, LLC dba FANATICS, INC
                                                             Defendant

                                                             SUMMONS
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 Derek T. Ho                                                                          Clerk of the Court
 Name of Plaintiff's Attorney                                                                                                        :




 KELLOGG, HANSEN, TODD, FIGEL & FREDERICK, P.L.L.C
                                                                          By
 Address                                                                                           Deputy Clerk                  :
 1615 M Street, N.W., Suite 400 Washington, D.C. 20036
                                                                                                  March 3, 2025
 202-326-7900                                                             Date
 Telephone
  = Bik BITRE (202) 879-4828
 QO                          Veuillez appeler au (202) 879-4828 pour une traduction    Dé c6 mét bai dich, hay goi (202) 879-4828
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CV-3110 [Rev. June 2017]                                                                                            Super. Ct. Civ. R. 4
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                                        TRIBUNAL SUPERIOR DEL DISTRITO DE COLUMBIA
                                                                    DIVISIÓN CIVIL
                                                              Sección de Acciones Civiles
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                                                       Washington,
                                                   Teléfono:        DC 20001
                                                             (202) 879-1133   Teléfono
                                                                            Sitio       879-1133
                                                                                  web: www.dccourts.gov



          DC GAMBLING RECOVERY LLC
                                                                  Demandante
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                                                                                                 Número de Caso:
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      Nombre del abogado del Demandante

        KELLOGG, HANSEN, TODD, FIGEL & FREDERICK, P.L.L.C.                    Por:
      Dirección                                                                                           Subsecretario
        1615 M Street, N.W., Suite 400 Washington, D.C. 20036


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